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David Stebbins (pro se Plaintiff)
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      UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA

DAVID STEBBINS,                                                             PLAINTIFF

VS.                                  Case 3:22-cv-00546-JSW

EMILY REBÔLO, ET AL                                                         DEFENDANTS

                         MOTION FOR LIMITED LIFTING OF STAY
       Comes now, pro se Plaintiff David Stebbins, who hereby submits the following Motion
for a Limited Lifting of the stay of proceedings in the above-styled action so that the Court can
dispose of the Motion for Temporary Restraining Order.
   1. On April 27, 2022, I filed a Motion for Leave to File Second Amended Complaint. This
       motion was filed as a means to an end, as it opened up the opportunity for me to file a
       Motion for Temporary Restraining Order pursuant to new claims of infringement being
       brought by the Second Amended Complaint.
   2. This Court has previously ordered a stay of proceedings in this case, pending resolution
       of a related case, 4:21-cv-04184-JSW Stebbins v. Polano. However, as of the recent
       motion for temporary restraining order, I risk irreparable harm if this motion is not taken
       up immediately.
   3. I therefore ask the Court to order a limited lifting of the stay on this case, so that Youtube
       LLC may be served with process using the US Marshall, so that they may respond to the
       Motion for TRO, and the Motion for TRO may receive a ruling.
   4. So requested on this, the 27th day of April, 2022.
                                                                                 /s/ David Stebbins
                                                                                     David Stebbins

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                                                                             LIFTING OF STAY
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Case 3:22-cv-00546-JSW               -2-               MOTION FOR LIMITED
                                                           LIFTING OF STAY
